232 F.2d 889
    Edward JAMESv.C. H. LOONEY, Warden, U.S. Penitentiary, Leavenworth, Kansas.
    No. 5316.
    United States Court of Appeals Tenth Circuit.
    March 23, 1956.
    
      Donald King, Denver, Colo., for appellant.
      William C. Farmer, U.S. Atty., Topeka, Kan. and Royce D. Sickler, Asst. U.S. Atty., Wichita, Kan., for appellee.
      Before BRATTON, Chief Judge, and HUXMAN and MURRAH, Circuit Judges.
      PER CURIAM.
    
    
      1
      Affirmed without opinion.
    
    